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                     United States District Court
                                          District of Utah


     UNITED UTAH PARTY, an
 unincorporated political association of
            Utah citizens;
    JIM BENNETT, an individual;
   DIANE KNIGHT, an individual;
VAUGHN R. COOK, an individual, and
    AARON AIZAD, an individual,

                      Plaintiffs,                JUDGMENT AND PERMANENT
                                                 INJUNCTION IN A CIVIL CASE
                     v.

SPENCER J. COX, in his official capacity as        Case Number: 2:17-cv-00655-DN-DN
the Lieutenant Governor of the State of Utah,
                      Defendant.



       This action came to hearing before the Court. The issues have been tried, and heard and
       a decision has been rendered.

       IT IS ORDERED AND ADJUDGED
       that Judgment is entered in favor of Plaintiffs and against Defendant;

       Defendant Spencer J. Cox, Lieutenant Governor of State of Utah, along with his officers,
       agents, servants, employees, attorneys, successors, and all other persons who are in active
       concert or participation with him, is permanently enjoined from failing to include the
       nominee of the United Utah Party, Jim Bennett, on the ballot in the special election to be
       held on November 7, 2017, in the Third Congressional District; and

       Plaintiffs, as the prevailing party within the meaning of 42 U.S.C. § 1988, are awarded
       their reasonable attorneys’ fees and costs from Defendant in the amount of One Hundred-
       Fifteen Thousand and no/100 Dollars ($115,000.00).
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November 2, 2017                        BY THE COURT:
Date

                                        _____________________________________
                                        David Nuffer
                                        United States District Judge




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